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                      Coronavirus Reporter (Wyoming) Officer Minutes

After the originating Complaint was filed on January 19th 2021 in the New Hampshire District,
CNBC’s chief Apple reporter contacted the Chief Legal Officer on same day, requesting the
identity of Coronavirus Reporter’s Chief Medical Officer.

A responsive email sent Monday January 25 2021 agreed to an interview. The interview
between Dr Robert Roberts and CNBC Apple correspondant was scheduled and took place on
January 28th 2021 at 1PM EST.

Present on the call were Robert Roberts, Keith Mathews, and CNBC’s Apple correspondant. The
conference call duration was approximately forty minutes.

Dr Roberts was asked to provide an opening statement. He described the formation of his
Coronavirus Reporter app team having the right combination of a seasoned medical researcher,
a front line ER physician, and a computer scientist app developer.

He described his app as a large-scale epidemiological study and screening system, meant to
harness and distribute pandemic data. He explained his background in medical screening and
how it was particularly relevant for a coronavirus app. He articulated how he developed the
MBCK gold-standard test, which has saved countless lives and persisted over three decades as
the primary test for heart attacks. The remarked that the newer replacement tests, called
tropinins, are also based on his MBCK work. He mentioned other career discoveries such as
genes for heart disease, all of which are detailed in the CV he provided to Apple last March.

Dr Roberts was “taken aback,” in his own words, when Apple refused the app for lacking deep-
rooted medical credentials. Dr Roberts pointed out his peer-reviewed credentials and
recognitions, as committee member for the Nobel prize Fields Medal, Award of Meritorious
Achievement by the American Heart Association. He raised the appropriate question - If he
didn’t have deep credentials, who did?

Dr Roberts suggested a comparison to “startups” dating back through the Industrial Revolution
that were comprised by a single individual and/or small team. He stated that if Apple feels
startups cannot possess the deep-rooted medical credentials needed to solve humanities
problems, then Apple is contrary to the evidence of history. He offered anecdotally Fleming’s
discovery of penicillin.

When asked what are the ramifications of Apple’s refusal to publish his app, Roberts’
unambiguously stated that it was a major loss to science and society. An important phase of
COVID trajectory was not captured because of Apple’s decision. Roberts stated that though he
had been prepared to ramp up epidemiological studies, when Apple made their determination,
he assumed it was a lost cause and moved on to other COVID projects.
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CNBC asked for specific examples of potential losses. Roberts replied that in the case of long-
term COVID damage to the cardiovascular system, much remains unknown. He felt the App
would have provided a meaningful platform for him to focus on his passion, cardiovascular
health, and derive world-class research, as he has done without pause during his entire career.

CNBC asked what Roberts felt should happen from his litigation. Roberts replied that, though
he isn’t a lawyer, he doesn’t feel Apple should be allowed to do what they did.

Entered by Chief Legal Officer
